           Case 1:21-cv-02446-ELR Document 1 Filed 06/15/21 Page 1 of 12




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

YVONNE BROWN,                           )
                                        )
      Plaintiff,                        )
                                        )       CIVIL ACTION
v.                                      )
                                        )       FILE No. _____________________
NORTH GA REAL ESTATE LLC,               )
                                        )
      Defendant.                        )

                                    COMPLAINT

      COMES NOW, YVONNE BROWN, by and through the undersigned

counsel, and files this, her Complaint against Defendant NORTH GA REAL

ESTATE LLC pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181

et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36

(“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as follows:

                           JURISDICTION AND VENUE

      1.       This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.       Venue is proper in the federal District Court for the Northern District


                                            1
           Case 1:21-cv-02446-ELR Document 1 Filed 06/15/21 Page 2 of 12




of Georgia, Atlanta Division.

                                      PARTIES

      3.       Plaintiff YVONNE BROWN (hereinafter “Plaintiff”) is, and has been

at all times relevant to the instant matter, a natural person residing in Douglasville,

Georgia (Douglas County).

      4.       Plaintiff suffers from Epilepsy, Multiple Sclerosis (“MS”) and has

suffered multiple injuries resulting in irreversible damage to her legs, and is

disabled as defined by the ADA.

      5.       Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

      6.       Plaintiff uses a wheelchair for mobility purposes.

      7.       Defendant    NORTH      GA       REAL   ESTATE       LLC   (hereinafter

“Defendant”) is a Georgia limited liability company, and transacts business in the

state of Georgia and within this judicial district.

      8.       Defendant may be properly served with process via its registered

agent for service, to wit: Reddy Deepthi, 12570 Pindell Circle, Alpharetta,

Georgia, 30004.




                                            2
           Case 1:21-cv-02446-ELR Document 1 Filed 06/15/21 Page 3 of 12




                            FACTUAL ALLEGATIONS

      9.       On or about April 3, 2021, Plaintiff was a customer at “American Deli

45,” a business located at 6986 Douglas Boulevard, Unit 102, Douglasville,

Georgia 30135.

      10.      Defendant is the owner or co-owner of the real property and

improvements that are the subject of this action. (The structures and improvements

situated upon said real property shall be referenced herein as the “Facility,” and

said real property shall be referenced herein as the “Property”).

      11.      Plaintiff lives approximately two (2) miles from the Facility and

Property.

      12.      Plaintiff’s access to the businesses located at 6968 Douglas

Boulevard, Douglasville, Georgia 30135 (Douglas County Property Appraiser’s

parcel number 01600250114), and/or full and equal enjoyment of the goods,

services, foods, drinks, facilities, privileges, advantages and/or accommodations

offered therein were denied and/or limited because of her disabilities, and she will

be denied and/or limited in the future unless and until Defendant is compelled to

remove the physical barriers to access and correct the ADA violations that exist at

the Facility and Property, including those set forth in this Complaint.

      13.      Plaintiff has visited the Facility and Property at least once before and


                                           3
        Case 1:21-cv-02446-ELR Document 1 Filed 06/15/21 Page 4 of 12




intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      14.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to her access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

                                           4
        Case 1:21-cv-02446-ELR Document 1 Filed 06/15/21 Page 5 of 12




      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in her capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of her

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit her


                                         5
        Case 1:21-cv-02446-ELR Document 1 Filed 06/15/21 Page 6 of 12




access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      27.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of her

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit her

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all


                                           6
        Case 1:21-cv-02446-ELR Document 1 Filed 06/15/21 Page 7 of 12




physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      30.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)     EXTERIOR ELEMENTS:

      (i)     The total number of accessible parking spaces on the Property

              is inadequate, in violation of section 208.2 of the 2010 ADAAG

              standards.

      (ii)    Accessible parking spaces are not properly distributed on the

              Property, in violation of section 208.3 of the 2010 ADAAG

              standards.

      (iii)   The accessible parking space on the Property and its adjacent

              access aisle each are not adequately marked and have

              inadequate dimensions, in violation of sections 502.1, 502.2

              and 502.3 of the 2010 ADAAG standards.


                                           7
  Case 1:21-cv-02446-ELR Document 1 Filed 06/15/21 Page 8 of 12




(iv)   The accessible ramp on the Property is situated within the

       accessible parking space, and thus ramp is obstructed when a

       vehicle is parked in the accessible space, resulting in the ramp’s

       obstructed clear width being less than 36” (thirty-six inches), in

       violation of sections 206.2.1, 403.5.1, 405.5 and 502.7 of the

       2010 ADAAG standards.

(v)    Due to an apparent policy of placing a trash can within the

       accessible route providing access to the tenant spaces of the

       Facility, said accessible route does not provide for 36” (thirty-

       six inches) of clear width throughout, in violation of section

       403.5.1 of the 2010 ADAAG standards.

(b)    INTERIOR ELEMENTS:

(i)    The hand operated flush controls on the commodes in the

       accessible toilet stalls in the restrooms in the Unit 102 portion

       of the Facility are not located on the open side of the accessible

       stalls, in violation of section 604.6 of the 2010 ADAAG

       standards.

(ii)   The paper towel dispensers in the restrooms in the Unit 102

       portion of the Facility are located outside the prescribed vertical


                                    8
        Case 1:21-cv-02446-ELR Document 1 Filed 06/15/21 Page 9 of 12




              reach ranges set forth in section 308.2.1 of the 2010 ADAAG

              standards.

      (iii)   The mirrors in the restrooms in the Unit 102 portion of the

              Facility exceed the maximum permissible height set forth in

              section 603.3 of the 2010 ADAAG standards.

      31.     Without limitation, the above-described violations of the ADAAG

rendered the disabled accessible parking space on the Property inaccessible to

Plaintiff, made it more difficult for Plaintiff to utilize the ramp servicing the

Property, and more difficult for Plaintiff to travel upon the accessible route on the

Property.

      32.     Upon information and good faith belief, Defendant fails to adhere to a

policy, practice and procedure to ensure that all facilities on the Property are

readily accessible to and usable by disabled individuals.

      33.     The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      34.     Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.


                                         9
       Case 1:21-cv-02446-ELR Document 1 Filed 06/15/21 Page 10 of 12




      35.   The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      36.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      37.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      38.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      39.   In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      40.   Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous


                                         10
       Case 1:21-cv-02446-ELR Document 1 Filed 06/15/21 Page 11 of 12




conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      41.    Plaintiff’s requested relief serves the public interest.

      42.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      43.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      44.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant from

             continuing its discriminatory practices;

      (c)    That the Court issue an Order requiring Defendant to (i) remove the

             physical barriers to access and (ii) alter the subject Facility and

             Property to make them readily accessible to, and useable by,

             individuals with disabilities to the extent required by the ADA;

      (d)    That the Court award Plaintiff’s counsel reasonable attorneys' fees,


                                          11
        Case 1:21-cv-02446-ELR Document 1 Filed 06/15/21 Page 12 of 12




             litigation expenses and costs; and

      (e)    That the Court grant such further relief as deemed just and equitable

             in light of the circumstances.

                                       Dated: June 15, 2021.

                                       Respectfully submitted,

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich
                                       Georgia Bar No. 242240
                                       The Law Office of Craig J. Ehrlich, LLC
                                       1123 Zonolite Road, N.E., Suite 7-B
                                       Atlanta, Georgia 30306
                                       Tel: (800) 238-3857
                                       Fax: (855) 415-2480
                                       craig@ehrlichlawoffice.com

        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich




                                         12
